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United States District Court
Eastern District of New York                                         2:19-cv-00974

Ricardo Sibrian individually and on behalf
of all others similarly situated
                                       Plaintiff

                       - against -                                     Complaint

Cento Fine Foods, Inc.
                                       Defendant


           Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


           1.     Cento Fine Foods, Inc. (“defendant”) manufactures, grows, harvests, packages,

markets, distributes and sells peeled, canned tomatoes from Italy labeled as “Certified San

Marzano.”

           2.     The Products are sold in tin cans in sizes including 28 oz. available to consumers

from retail stores and websites nationwide, and directly from defendant’s website.

           3.     Tomatoes are the most important fruit crop in the world, accounting for consumption

of 22 and 13 million tons/day in the EU and US.1

           4.     Tomato was first introduced in Europe from Central and South America at the

beginning of the 16th century and initially cultivated as an ornamental plant.

           5.     There are generally two types of peeled plum tomatoes from Italy – regular peeled



1
    Food and Agriculture Organization Statistics, 2010 report
                                                           1
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and regular peeled grown in the region San Marzano sul Sarno, in the temperate climate of

Campania in Southern Italy.

       6.    San Marzano refers to a type of tomato, characterized by firm pulp, deep red color,

low seed count, easy to remove peel, elongated shape of the berry with parallel longitudinal

depressions, and placental fibers.

       7.    They are traditionally grown in the rich volcanic soil at the base of Mount Vesuvius,

a temperate climate, south of Naples, which gives them a sweet flavor and low acidity.

       8.    Defendant represents its Products as “Certified San Marzano Organic Peeled

Tomatoes.”




       9.    Most San Marzano-type tomatoes are grown in Italy though seeds for the variety are

available to be planted worldwide.

       10.   The optimal cultivation of San Marzano’s in Italy requires the vertical breeding of


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the plants with the use of supports, to provide the needed sunlight and other attributes which affect

the product’s final internal composition.

         11.   The average yield is about 60-80 tons per hectare, and the processed product yield

reaches high levels, normally above 70%.

         12.   The limited number of fields in the optimal area for planting and the inability to use

mechanized harvesting means a restricted supply and higher prices.

         13.   This premium pricing – twice as much as non-San Marzano – results in an ongoing

battle against fraudulent tomatoes designated as “San Marzano” and purporting to represent

themselves with the indicia of this tomato variety.

         14.   This fraud is abetted by the abundance of lower quality Chinese processed tomato

products imported to Italy, more than any other country, to use in the finished tomato products.

         15.   According to the head of the Italian non-governmental group that represents

producers and distributors of San Marzano tomatoes, the Consortium for the Protection of the San

Marzano Tomato Dell'agro Sarnese Nocerino, only five percent of tomatoes marked as such are

real San Marzano tomatoes.2

         16.   The Italian Mafia reaps profits by placing lesser quality tomatoes into cans and

labeling them San Marzano, when they are less sweet and less meaty tomatoes.3

                               The Mystery of San Marzano, NY Times




2
  Mari Uyehara, San Marzano Tomatoes: The Fake Rolex of Canned Foods, 20 July 2017, TASTE
https://www.tastecooking.com/fake-rolex-canned-tomatoes/
3
     Nicholas    Blechman,    The    Mystery     of   San    Marzano,     NY    Times,    16    Aug.    2015,
https://www.nytimes.com/interactive/2015/08/16/opinion/sunday/food-chains-mystery-of-san-marzano.html
                                                     3
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       17.   To prevent the rampant fraud, the below seals and serial numbers are affixed to San

Marzano tomatoes grown in the region, in the required manner.




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      18.    Defendant’s website emphasizes that regulations are necessary to label a product

“true San Marzano Tomatoes.”




      19.    Like the certified version of the San Marzano tomatoes, the Products contain Italian

text, “Pomodoro San Marzano.”




            Distinct in flavor, these Cento Marzano tomatoes are grown in the Sarnese
            Nocerino area of Italy, renowned for its especially fruitful soil as a result
            of its proximity to Mount Vesuvius.

            These San Marzano tomatoes are certified by an independent third-party
            agency and are produced with the proper method to ensure superior
                                             5
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               quality. (Back of Can)

         20.      However, the ICEA does not “certify” that the Products are compliant with the San

Marzano guidelines, and it is actually an entity which may have performed the USDA Organic

certification.4

         21.      Though the ICEA does certify the quality and identity of certain fruits and

vegetables, San Marzano tomatoes are not included amongst them.5

         22.      On defendant’s website, a company known as “Agri Cert” (also known as Bio Agri

Cert) is identified as the “independent third-party agency” that verifies that the Products conform

to the San Marzano official criteria, which effect its internal composition.6




         23.      However, Bio Agricert is believed to be the company which supplies defendant with




4
  https://icea.bio
5
  https://icea.bio/typical-products-pdo-pgi-igt-etc/?lang=en
6
  https://www.bioagricert.org/en/
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San Marzano seeds and possibly certifies whether the Products are organic, as opposed to

certifying the growing and quality of the final product.

          24.   Bioagricert sells a standard peeled tomato seed, but has no public listing for a San

Marzano tomato seed.

          25.   It even has been claimed that Bioagricert only “certifies” the production chain

traceability of the seeds, confirming the subject tomatoes were grown in Italy.7

          26.   Defendant’s website offers the chance to look up the exact field where the Products

were grown by entering in a “lot code.”




          27.   A typical “lot code” for a recently purchased Product is “P230.”

          28.   However, the “lot code” conveniently corresponds to a date code, where in one

formulation, P represents the year (i.e., 2017) and 230 means the 230th day of said year (subject to

variations depending on implementation and usage).

          29.   Additionally, entry of “lot codes” into the website brings back the same four fields,

over and over.


7
    UNI EN ISO 22005 Standard
                                                   7
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        30.   It is implausible that defendant can sell more San Marzano tomatoes than all other

companies in the US, combined, and do so by cultivating only four fields.

        31.   It would not necessarily be misleading to grow tomatoes from San Marzano seeds

and label them as “San Marzano” tomatoes.

        32.   It is misleading to grow tomatoes that may or may not be from San Marzano seeds

and represent them as being “certified.”

        33.   Studies have shown that consumers, in the short time they devote to selecting

products, will look for cognitive shortcuts, such as third-party certifications.

        34.   Such certifications represent to the consumer that the certifying party has the

expertise, knowledge, authority and ability to give its imprimatur to the product.

        35.   A certification is especially significant when the subject products are from another

country, because the consumer will have no easy way to assess or inquire as to the authenticity of

the certification, and by extension, the criteria used.

        36.   Reasonable consumers expect that where a certification is available for a product,

and promoted as a key aspect of that product’s features, the certification will refer to one of the

most significant features.

        37.   In the case of the Products, the “certified” claim bears on whether or not the Products

are certified San Marzano tomatoes, understood as referring to the Product’s composition and

attributes.

        38.   This is reasonable because defendant’s representations – on and off-label – state

clearly that the “certified” refers to the final product – not that the seeds are certified as “San

Marzano variety,” or that it is certified organic by the USDA.

        39.   It is implausible for defendant’s Products to be of identical or substantially similar

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to the other certified Products because there are not enough serial numbers distributed each year

by the regulating body to cover the volume of defendant’s output.

       40.   Moreover, the growing of the amounts of tomatoes produced by defendant soil would

not be able to obtain the nutrients and minerals and flavor elements the volcanic soil is known for.

       41.   Further, it would be unprofitable to engage in the labor-intensive growing and

harvesting process for such a large number of tomatoes yet sell them at their retail price.

       42.   Defendant’s claim of certification is a weak half-truth, without much effort put in.

       43.   When consumers buy canned tomatoes, they increasingly seek products that are most

connected to authentic Italian foods.

       44.   While it is not disputed that the Products originate from Italy, it is disputed that the

Products are all they represent themselves to be.

       45.   Competitor brands in columns two and three are actually certified by the relevant

authority, and are labeled as “San Marzano Tomato of Agro Sarnese-Nocerino Area”




       46.   Only recently has it been possible to identify authentic tomato cultivars in

commercial tomato products through the technology simple sequence repeat (SSR) and other




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advanced methodologies, which has implications for truthful labeling described herein.8

        47.    The Products do not conform to the identity and composition of what they represent

as and are affirmatively misleading to consumers.

        48.    The Products contain other representations which are misleading and deceptive.

        49.    Excluding tax, the Products cost no less than $5.99, a premium price compared to

other similar products.

                                           Jurisdiction and Venue


        50.    Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

        51.    Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        52.    This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        53.    Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and in New York.

        54.    A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                       Parties

        55.    Plaintiff is a citizen of Nassau County, New York.

        56.    John Doe plaintiffs are citizens of the other 49 states.

        57.    Defendant is a New Jersey corporation with a principal place of business in


8
  Daria Scarano, et al. "SSR fingerprint reveals mislabeling in commercial processed tomato products." Food Control
51 (2015): 397-401; Maria Raffaella Ercolano et al. "Patchwork sequencing of tomato San Marzano and Vesuviano
varieties highlights genome-wide variations." BMC genomics 15.1 (2014): 138; R. Rao, et al., "(GATA) 4 DNA
fingerprinting identifies morphologically characterized ‘San Marzano’ tomato plants." Plant Breeding 125, no. 2
(2006): 173-176.
                                                        10
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Thorofare, New Jersey (Gloucester County).

       58.   In 2016, 2017 and/or 2018, plaintiff purchased one or more Products for personal

consumption, for no less than $5.99 per product, excluding tax, within this district and/or State.

       59.   Plaintiff paid this premium because prior to purchase, plaintiff saw and relied on the

misleading representations.

       60.   Plaintiff would purchase the Products again if there were assurances that the

Products’ representations were no longer misleading.

                                         Class Allegations


       61.   The classes consist of all consumers in the following states: all, New York who

purchased any Products with actionable representations during the statutes of limitation.

       62.   A class action is superior to other methods for fair and efficient adjudication.

       63.   The class is so numerous that joinder of all members, even if permitted, is

impracticable, as there are likely hundreds of thousands of members.

       64.   Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff(s) and class members

are entitled to damages.

       65.   Plaintiff(s) claims and the basis for relief are typical to other members because all

were subjected to the same representations.

       66.   Plaintiff(s) is/are an adequate representative because his/her/their interests do not

conflict with other members.

       67.   No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       68.   Individual actions would risk inconsistent results, be repetitive and are impractical
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to justify, as the claims are modest.

       69.     Plaintiff(s) counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       70.     Plaintiff(s) seeks class-wide injunctive relief because the practices continue.

                            New York General Business Law (“GBL”) §§ 349 & 350

       71.     Plaintiff and John Doe plaintiffs representing other states, incorporates by reference

all preceding paragraphs.

   a. Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et. seq.;

   b. Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code § 45.50.471, et.

       seq.;

   c. Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.;

   d. California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. and Unfair

       Competition Law, Cal. Bus. Prof. Code §§ 17200- 17210 et. seq.;

   e. Colorado Consumer Protection Act, Colo Rev. Stat § 6-1-101, et. seq.;

   f. Connecticut Unfair Trade Practices Act, Conn. Gen Stat § 42-110a, et. seq.;

   g. Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et. seq.;

   h. District of Columbia Consumer Protection Procedures Act, D.C. Code §§ 28-3901, et. seq.;

   i. Florida Deceptive and Unfair Trade Practices, Act Florida Statutes§ 501.201, et. seq.;

   j. Georgia Fair Business Practices Act, §10-1-390 et. seq.;

   k. Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statutes § 480 1, et. seq. and

       Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statute § 481A-1, et. seq.;

   l. Idaho Consumer Protection Act, Idaho Code § 48-601, et. seq.;

   m. Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS § 505/1, et. seq.;


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   n. Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50 626, et. seq.;

   o. Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §§ 367.110, et. seq., and the

      Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et. seq.;

   p. Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. §§

      51:1401, et. seq.;

   q. Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et. seq., and Maine Uniform

      Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et. seq.;

   r. Massachusetts Unfair and Deceptive Practices Act, Mass. Gen Laws ch. 93A;

   s. Michigan Consumer Protection Act, §§ 445.901, et. seq.;

   t. Minnesota Prevention of Consumer Fraud Act, Minn. Stat §§ 325F.68, et. seq.; and

      Minnesota Uniform Deceptive Trade Practices Act, Minn Stat. § 325D.43, et. seq.;

   u. Mississippi Consumer Protection Act, Miss. Code An. §§ 75-24-1, et. seq.;

   v. Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et. seq.;

   w. Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code § 30-14-101,

      et. seq.;

   x. Nebraska Consumer Protection Act, neb. Rev. Stat. § 59 1601 et. seq., and the Nebraska

      Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301, et. seq.;

   y. Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903, et. seq.;

   z. New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et. seq.;

   aa. New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8 1, et. seq.;

   bb. New Mexico Unfair Practices Act, N.M. Sta. Ann. §§ 57 12 1, et. seq.;

   cc. North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51 15 01, et. seq.;

   dd. Ohio Rev. Code Ann. §§ 1345.02 and 1345.03; Ohio Admin. Code §§ 109;

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   ee. Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et. seq.;

   ff. Oregon Unfair Trade Practices Act, Ore. Rev. Stat. § 646.608(e) & (g);

   gg. Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen. Laws § 6-

       13.1-1 et. seq.;

   hh. South Carolina Unfair Trade Practices Act, S.C. Code Law § 39-5-10, et. seq.;

   ii. South Dakota’s Deceptive Trade Practices and Consumer Protection Law, S.D. Codified

       Laws §§ 37 24 1, et. seq.;

   jj. Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et. seq.;

   kk. Vermont Consumer Fraud Act, Vt. Stat. Ann. Tit. 9, § 2451, et. seq.;

   ll. Washington Consumer Fraud Act, Wash. Rev. Code § 19.86/0101, et. seq.;

   mm. West Virginia Consumer Credit and Protection Act, West Virginia Code § 46A-6-101,

       et. seq.;

   nn. Wisconsin Deceptive Trade Practices Act, Wis. Stat. §§ 100.18, et. seq.


       72.    Defendant’s representations and omissions are false, unfair, deceptive and

misleading and are not unique to the parties and have a broader impact on the public.

       73.    Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       74.    Plaintiff desired to purchase products which were as described by defendant and

expected by reasonable consumers, given the product type.

       75.    The representations and omissions were relied on by plaintiff and class members,

who paid more than they would have, causing damages.

                                       Negligent Misrepresentation

       76.    Plaintiff incorporates by references all preceding paragraphs.
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       77.   Defendant misrepresented the composition of the Products.

       78.   Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       79.   This duty is based on defendant’s purported position as a learned intermediary in the

production and sale of Italian tomatoes.

       80.   Defendant negligently misrepresented and/or negligently omitted material facts.

       81.   Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, the purchase of the Products.

       82.   Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, thereby suffering damages.

             Breach of Express Warranty and Implied Warranty of Merchantability


       83.   Plaintiff incorporates by references all preceding paragraphs.

       84.   Defendant manufactures, packages, distributes and sells Products which purport to

be described as Certified San Marzano tomatoes.

       85.   This warrants to consumers that the “certification” refers to the most significant

attribute of the Products – whether they are the actual certified San Marzano as opposed to a

standard peeled tomato.

       86.   The Products warranted to plaintiff and class members that they contained the

organoleptic, sensory, physical and other attributes which they did not.

       87.   Defendant warranted such attributes to plaintiff and class members, when this was

not truthful and was misleading.

       88.   The Products did not conform to their affirmations of fact and promises, wholly due

to defendant’s actions.
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       89.     The Products were not merchantable in their final sale form.

       90.     Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                                Fraud


       91.     Plaintiff incorporates by references all preceding paragraphs.

       92.     Defendant’s purpose was to mislead consumers who seek products which have the

substantive quality denoted by labeling tomatoes “Certified [Italian-sounding name]” since it is

plausible that the certification will refer to the composition and identity of the tomatoes in their

final form – not if one tiny aspect of the tomato’s history was “certified.”

       93.     Defendant’s intent was to secure economic advantage in the marketplace against

competitors.

       94.     Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       95.     Plaintiff incorporates by references all preceding paragraphs.

       96.     Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff(s) as representative and the

       undersigned as counsel for the class;

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   2. Entering preliminary and permanent injunctive relief by directing defendant to correct such

      practices to comply with the law;

   3. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and GBL claims;

   4. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and

      experts; and

   5. Such other and further relief as the Court deems just and proper.

Dated: February 19, 2019
                                                              Respectfully submitted,

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2:19-cv-00974
United States District Court
Eastern District of New York

Ricardo Sibrian individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


Cento Fine Foods, Inc.

                                          Defendant




                                       Complaint


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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 19, 2019
                                                                          /s/ Spencer Sheehan
                                                                           Spencer Sheehan
